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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

JOE CURTIS HARRIS,                       )
                                         )
            Plaintiff,                   )
                                         )
      v.                                 )       CASE NO. 2:20-CV-1016-RAH
                                         )
STEPHEN T. MARSHALL, et al.,             )
                                         )
            Defendants.                  )

                                     ORDER

   Before the court is the Magistrate Judge’s Report and Recommendation (Doc. 7)

filed April 26, 2021 to which no objections have been filed. Based upon an

independent and de novo review of the Recommendation, see 28 U.S.C. § 636(b), it

is ORDERED that:

   1. The Recommendation of the Magistrate Judge is ADOPTED;

   2. The Motion for Preliminary Injunction (Doc. 1) is DENIED.

   3. This case be referred back to the Magistrate Judge for additional proceedings.

      DONE, on this the 1st day of June, 2021.


                                       /s/ R. Austin Huffaker, Jr.
                                R. AUSTIN HUFFAKER, JR.
                                UNITED STATES DISTRICT JUDGE
